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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


VLSI TECHNOLOGY LLC,                                  )
                                                      )
                          Plaintiff,                  )
                  v.                                  )
                                                      )       Case No. 6:21-cv-00057-ADA
INTEL CORPORATION,                                    )
                                                      )
                          Defendant.                  )
                                                      )
                                                      )
                                                      )
                                                      )
                                                      )



                  ORDER DENYING DEFENDANT INTEL CORPORATION’S
                  OPPOSED “RENEWED MOTION TO CONTINUE TRIAL”

           On this day came on to be considered Defendant Intel Corporation’s Opposed “Renewed Motion

to Continue Trial” (D.I. 418) and the Court having now reviewed said motion, the materials filed in

support and opposition thereto, and all other matters of record, finds that said motion is not well taken

and should be denied. Accordingly, it is therefore,

           ORDERED that Defendant Intel Corporation’s Opposed “Renewed Motion to

Continue Trial” is hereby DENIED.


                                    February 2021
                       19th day of _________,
           SIGNED this ____



                                                          ALAN D. ALBRIGHT
                                                          UNITED STATES DISTRICT JUDGE




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